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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  DINA DUKHQAN,

                                Plaintiffs,
                    v.                                          Case No.: 1:22-cv-01407

  AMERICAN NEAR EAST REFUGEE AID
  (ANERA),

                               Defendant.


              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Civil Local Rule 83.2(d), counsel hereby moves for the admission pro hac

vice of Kelly T. Kindig of Cozen O’Connor, 1650 Market Street, Suite 2800, Philadelphia, PA

19103 to represent Defendant American Near East Refugee Aid (“ANERA”) in the above-

captioned action.

       This Motion is supported by the Declaration of Kelly T. Kindig. As set forth in Ms.

Kindig’s Declaration and further established with her Certificates of Good Standing, she is

admitted and an active member in good standing of the bars and courts:

       Pennsylvania Bar

       U.S. District Court - Eastern District of Pennsylvania
       U.S. District Court - Middle District of Pennsylvania
       U.S. Court of Appeals for the Third Circuit
       U.S. Supreme Court

       U.S. District Court – New Jersey
       State of New Jersey

       U.S. District Court – Colorado

       U.S. Court of Appeals for the District of Columbia Circuit




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       This Motion is supported and signed by Molly Rucki, an active and sponsoring member

of the Bar of this Court.


Dated: July 5, 2022                              Respectfully submitted,


                                                 /s/ Molly Rucki______
                                                 Molly Rucki, Esq.
                                                 D.C. Bar No. 1616852
                                                 Cozen O’Connor PC
                                                 1200 19th St. NW, Suite 300
                                                 Washington, DC 20036
                                                 mrucki@cozen.com
                                                 Tel. (202) 912-4884
                                                 Fax (202) 861-1905

                                                 Attorney for Defendant,
                                                 American Near East Refugee Aid
                                                 (“ANERA”)




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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


 DINA DUKHQAN,

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               v.                                            Case No.: 1:22-cv-01407

 AMERICAN NEAR EAST REFUGEE AID
 (ANERA),

                            Defendant.


DECLARATION OF KELLY T. KINDIG IN SUPPORT OF MOTION FOR ADMISSION
                   OF ATTORNEY PRO HAC VICE

    Pursuant to Local Rule 83.2(d), I, Kelly T. Kindig, hereby declare as follows:

    I am an attorney with the law firm of Cozen O’Connor, P.C.

    1. My office address and telephone number are as follows:

       1650 Market Street, Suite 2800
       Philadelphia, PA 19103
       (215) 665-2000

    2. I represent Defendant American Near East Refugee Aid (“ANERA”).

    3. I am admitted to, and a member of good standing with, the following bars and courts:

           U.S. District Court - Eastern District of Pennsylvania
           U.S. District Court - Middle District of Pennsylvania
           U.S. Court of Appeals for the Third Circuit
           U.S. Supreme Court

           U.S. District Court – New Jersey
           State of New Jersey

           U.S. District Court – Colorado

           U.S. Court of Appeals for the District of Columbia Circuit

    4. I have never been disciplined by any bar.



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       5. I have not been admitted pro hac vice to the United States District Court for the

           District of Columbia within the last two years.

       6. I do not practice law from an office located in the District of Columbia. However,

           Cozen O’Connor has an office located within the District of Columbia.

       7. I have reviewed and am familiar with the Local Rules of this Court.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       Dated: July 5, 2022                          Respectfully submitted,

                                                    By:      ______________________
                                                             Kelly T. Kindig
                                                             COZEN O’CONNOR
                                                             1650 Market Street, Suite 2800
                                                             Philadelphia, PA 19103
                                                             Tel.: 215-665-7252
                                                             Fax: 215-665-2013
                                                             KKindig@cozen.com




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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  DINA DUKHQAN,

                                 Plaintiffs,
                   v.                                         Case No.: 1:22-cv-01407

  AMERICAN NEAR EAST REFUGEE AID
  (ANERA),

                              Defendant.


                                       [PROPOSED] ORDER

        Upon consideration of the Motion for Admission Pro Hac Vice of Kelly T. Kindig, IT IS

HEREBY ORDERED that such motion is granted, and that Kelly T. Kindig is hereby admitted

to appear before this Court pro hac vice, on behalf of Defendant American Near East Refugee

Aid (“ANERA”), in this matter.



Dated: ___________                                By: ____________________________
                                                         Judge


Copies to:

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Counsel for Plaintiffs

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Counsel for Defendant




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  AMERICAN NEAR EAST REFUGEE AID
  (ANERA),

                              Defendant.


                               RULE 7(m) CERTIFICATION

        I HEREBY CERTIFY that Plaintiff’s counsel and Defendant’s counsel have conferred.

Counsel for Plaintiff does not oppose this Motion for Admission of Attorney Pro Hac Vice for

Kelly T. Kindig.


Dated: July 5, 2022                                Respectfully submitted,


                                                   /s/ Molly Rucki______
                                                   Molly Rucki, Esq.
                                                   D.C. Bar No. 1616852
                                                   Cozen O’Connor PC
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                                                   Washington, DC 20036
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                                                   Fax (202) 861-1905

                                                   Attorney for Defendant,
                                                   American Near East Refugee Aid
                                                   (“ANERA”)




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                               CERTIFICATE OF SERVICE



          I HEREBY CERTIFY that on July 5, 2022, I filed the foregoing Motion for Admission

 Pro Hac Vice of Kelly T. Kindig, Declaration, Certificate of Good Standing, proposed Order,

 and Rule 7(m) Certification via the court’s Electronic Case Filing (ECF) system to serve all

 counsel of record.




                                                  By:   /s/ Molly Rucki
                                                           Molly Rucki




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